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Office of Enforcement
1700 G Street, NW                                                                                           E-FILED
Washington, DC 20552

                                                                                                         ,~UL i 4 2017

                                                  UNITED STATES DISTRICT COUI~C~                        rumen
                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                             CASE NUMBER
Consumer Financial Protection Bureau,
                                                                                                2:15-CV-9692-PSG-Ex
                                                              Plaintiffs)
                                      V.

                                                                                  (PR~( POSED)ORDER ON APPLICATION
D and D Marketing, Inc., d/b/a T3 Leads et al.,
                                                                                 OF NON-RESIDENT ATTORNEY TO APPEAR
                                                           Defendant(s).             IN A SPECIFIC CASE PRO HAC VICE
                                                                                                                                                    ~_,
 The Court, having determined whether the required fee has been paid, and having reviewed the
 Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Cater, Meehan S.                                                            of Consumer Financial Protection Bureau
 Applicant's Name (Last Name,First Name er Middle Initial)                     Office of Enforcement
(202)435-9165                  (202)435-7329                                   1700 G Street, NW
Telephone Number            Fax Number                                         Washington, DC 20552
meghan.cater@cfpb.gov
                   E-Mail Address                                                Firm/AQencv Name er Address

 for permission to appear and participate in this case on behalf of
 Consumer Financial Protection Bureau



 Names)ofParty(ies) Represented                                         ~X Plaintiff(s) ~ Defendant(s) ~ Other:
 and designating as Local Counsel
Hartmann, Leanne E.                                                         of               Financial Protection Bureau
 Designee's Name (Last Name, First Name er Middle Initial)                       Office of Enforcement
      264787            (415)844-9787         (415)844-9788                      301 Howard Street, Suite 1200
Designee's Cal. Bar No.       Telephone Number           Fax Number
                                                                                 San Francisco, CA 94105
leanne.hartmann@cfpb.gov
                                                                                 Firm/Aoenry Name e'r
                      E-Mail Address
 HEREBY ORDERS THAT the Application be:
 ~6RANTED.
  DENIED: ❑for failure to pay the required fee.
                          for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                          for failure to complete Application:
                          pursuant to L.R. 83-2.13.2: 0 Applicant resides in California; ~ previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                          pursuant to L.R. 83-2.1.3.4; Local Counsel:~ is not member of Bar of this Court;~ does not maintain office in District.
                    ~ because
                                                                                                             ss
 IT IS HEREBY FLIRT ER ORDERED THAT the Application fee,if                                                             ~ not be refunded.
 Dated                           /~
                                                                                    U.S. istrict Judge/U.S. Magistrate Judge
G-64 ORDER (5/16)     (PROPOSED)ORDER ON APPLICATION OFNON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASEPRO HAC VICE                Page 1 of 1
                                                    MANDATORY CHAMBERS COPY
